Case 1:17-cv-11778-FDS Document 36 Filed 01/30/18 Page 1 of 9

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

JAMES PETER KYRICOPOULOS, )

petitioner
)
V' Civil Action
) No. 17-11778-FDS
ERIN GAFFNEY,
respondent )

PETITIONER'S NOTICE PRIOR TO FILING
CRIMINAL COMPLAINT

NOW COMES the petitioner, pro-se, and submits this “final"
notice to this Court and all interested parties, See Certificate
of Service. This civil matter is a pending habeas corpus,
where the U.S.D.J. Saylor IV is just sitting on said habeas
corpus, making a SHAM out of the GREAT WRIT, that our fore-
fathers called it. THe petitioner has attached a document
titled "Federal Criminal Crimes," where within said habeas
corpus, petitioner filed An Amended Habeas Corpus, that showed
the petitioner is being falsely imprisoned, how much so, the
Attorney General and a Justice of the Supreme Judicial Court
of Massachusetts, engaged in collusion, to falsify the docket

entries to commit perjury, WHAT!!!!, this being last JUne, June

12, 2017, Writ of Mandamus no. SJ 2017-0182, WHAT.

Case 1:17-cv-11778-FDS Document 36 Filed 01/30/18 Page 2 of 9

(2)

The petitioner submits the "controlling" authority, see
"Wheel v. Robinson, 34 F 3d, 1993, 2nd circuit," this case was
about a State Judqe in Vermont who falsified the docket entries

to commit PERJURY, WHAT, same acts, she was sent to prison, WHAT.

What the petitioner is saying, he is a victim of criminal acts,
(federal), and he is in prison, the culprits are living their li-
ves like evrerything is wonderful, OH by the way, Maura Healey
and her willing partner in this criminal venture, are both

"lesbians," WHAT a hate cdrime.

The petitioner has attached a copy of docket entries he received
from JUdge Saylor IV's clerk, dated January 10, 2018, see doc-
ket no. 18, dated November 2, 2017, please take judicial notice,
Mr. Lelling and Mr. Shaw of the F.B.I., no activity by the court,
do not federal judges like everyone else, must contact the

proper authorities when they become aware of a federal crime. WOW
but understand the petitioner went to the First Circuit Court of
Appeals with the compelling evidence, they DENIED the Writ of Man
damus, dated August 3, 2017, WHAT, they know of this criminal \,
wrongdoing, Justices Torruella, Lynch and Barron WOW, they had
the POWER to remedy this sick ORDEAL, NO, keep an innocent man
in prison, what gutless cowards.

Yes, the petitioner is 68 years of age, college educated, 3 years
of Law, and is not afraid of any JUdge, etc., repeat, no fear,

how sick are thsee liberal judges.

Case 1:17-cv-11778-FDS Document 36 Filed 01/30/18 Page 3 of 9

(3)

Understand, Mr. Weinbred last month said that "no one is above
the LAW," well the petitioner hopes that the federal judges
do what they are suppose to do, OH, by the way, 39 months of the

most deliberaste and intentional acts of false imprisonment.

For everyone to realize, all the evidence is located within the

aforementioned "amended habeas corpus," docket no,18.

ON or about Februarv 5, 2018, the petitioner will forward the

criminal complaints to the proper authorities.

Respectfullv submitted,

 

presently incarcerated at:

Old Colonv Correctional Center
Minimum Securitv

ONe Administration Road
Bridqewater, Mass. 02324

Dated: Januarv 26, 2018

Case 1:17-cv-11778-FDS Document 36 Filed 01/30/18 Page 4 of 9

CERTIFICATE OF SERVICE

I, James Peter Kyricopoulos, petitioner, pro-se do hereby certify
that true copies of the enclosed were mailed to the following

by first class mail, postage prepaid this 26th day of January,
2018:

EVA BADWAY, ASST' ATTORNEY GENERAL
OFFICE OF THE ATTORNEY GENERAL
ONE ASHBURTON PLACE

BOSTON, MASSACHUSETTS 02108

ANDREW LELLING

UNITED STATES ATTORNEY
UNITED STATES COURTHOUSE

1 COURTHOUSE WAY, SUITE 9200
BOSTON, MASSACHUSETTS 02210

MARGARET CARTER, CLERK

UNITED STATES COURT OF APPEALS

FOR THE FIRST CIRCUIT

UNITED STATES COURTHOUSE, SUITE 2500
BOSTON, MASSACHUSETTS 02210

HAROLD SHAW

SPECIAL AGENT IN CHARGE

FEDERAL BUREAU OF INVESTIGATION
DISTRICT OFFICE

201 MAPLE STREET

CHELSEA, MASSACHUSETTS 02150-1821

  

'eter Kyricopoulos

Dated: January 26, 2018

Case 1:17-cv-11778-FDS Document 36 Filed 01/30/18 Page 5 of 9

FEDERAL CRIMINAL CRIMES

Interference with the orderly administration of law and
justice, as by giving false information to or witholding evidence
from a police officer or prosecutor.

Obstruction of Justice:

Collusion:

An agreement to defraud another or to Obtain something
forbidden by law

Perjury:

The act or an instanceof a person's deliberately making
false or misleading statements while under oath.

Conspiracy:

An agreement by two or more persons to commit an unlawful
act, a combination for an unlawful purpose.

Aid and Abet:

To assist or facilitate the commission of a crime, or to
promote its accomplishments.

cM/ECF - US%?§FA§§§;&§H§§¥H&'YOSI; 639£5"5‘§9{” il%/§Ui"i' 01/30/13 Pa@e 6 O‘° 9 Page1of1

Other Events
1 :17-cv-1 1778-FDS ericopou|os
v. Gaffney

HABEAS,PaperRecord

United States District Court
District of Massachusetts
Notice of Electronic Filing

The following transaction was entered on 1_/10/2018 at 3:16 PM EST and filed on 1/10/2018

Case Name: Kyricopoulos v. Gaffney
Case Number: 1:17-cv-l 1778-'FDS
Filer: ‘

Document Number: 32(No document attached)

Docket Text: _
DOCKET SHEET sent to James Pete_r Kyricopoulos. (Pezzarossi, Lisa.)

1:17-cv-11778-FDS Notice has been electronically mailed to:

Eva M. Badway eva.badway@state.ma.us, appealseiilings@state.ma.us
1:17-cv-11778-FDS Notice will not be electronically mailed to:

James Peter Kyricopoulos

W#105398

Old Colony Correctional Center

1 Administration Road
Bridgewater, MA 02324

https://ecf.mad.circl .dcn/cgi-bin/Dispatch.pl?900860162243297 1/10/201 8

Case 1:17-cV-11778-FDS. Document 36 Filed 01/39/18 Page 7 of 9

. ; , HABEAS,PaperRecord
United States District Court

District of Massachusetts (Boston)

ClVlL DOCKET FOR CASE #: 1 :17-cv-11778-FDS

Kyricopoulos v. Gaffney Date Filed: 09/18/2017

Assigned to: Judge F. Dennis Saylor, IV Jury Demand: None

Cause: 28:2254 Petition for Writ of Habeas Corpus (State) Nature of Suit: 530 Habeas Corpus
(Genera`l)
Jurisdiction: Federal Question

,ljeg°g'gner

J ames Peter Kyricopoulos represented by J ames Peter Kyricopoulos
W#l 05 3 9 8
Old Colony Correctional Center
1 Administraiion Road
Bridgewater, MA 02324
508-279-6000
PRO SE

V.

Be§pond§gt

Erin Gaffney 4 represented by Eva M. Badway

' Attorney General's Office

Room 2019
One Ashburton Place

Boston, MA 02108-1698
617-727-2200 x2824
Fax: 671-727-5755

Email: a te.
LEAD A TTORNEY
ATTORNEY TO BE NOTICED

 

Date Filed # Docket Text

09/18/2017 _L PETITION for Writ of Habeas Corpus pursuant to 28:2254, filed by J ames Peter
Kyricopoulos.(Coppola, Katelyn) (Entered: 09/18/2017)

09/18/2017 2 MEMORANDUM OF LAW in Support of Petition 2254. Statement of Fact by J ames
Peter Kyricopoulos in re l Petition for Writ of Habeas Corpus (28:2254). (Coppola,
Katelyn) (Entered: 09/18/2017)

09/18/2017 3 ELECTRON'IC NOTICE of Case Assignment Judge F. Dennis Saylor, IV assigned to
case. If the trial Judge issues an Order of Reference of any matter in this case to a
Magistrate Judge, the matter will be transmitted to Magistrate Judge Donald L. Cabell.
(Coppola, Katelyn) (Entered: 09/18/2017) '

09/19/2017 4 Filing fee/payment $5.00, receipt number lBST064455 for _L l’etition for Writ of
Habeas Corpus (28:2254) (Coppola, Katelyn) (Entered: 09/19/2017)

10/05/2017 5 Letter to the Court from J ames Peter Kyricopoulos (Geraldino-Karasek, Clarilde)
(Entered: 10/05/2017)

10/05/2017 6 DOCKET SHEET sent to J ames Peter Kyricopoulos W#1053 98 Old Colony
Correctional Center l Administration Road Bridgewater, MA 02324
(Geraldino-Karasek, Clarilde) (Entered: 10/05/2017;)

10/10/2017 1 Judge F. Dennis Saylor, IV: ORDER entered. SERVICE ORDER re 2254 Petition.
Order entered pursuant to R4 of the Rules governing Section 2254 cases for service on`
respondents Answer/responsive pleading due w/in 2_1 days of receipt of this order.
(Maynard, Timothy) (Entered: 10/10/2017)

 

 

 

 

 

 

 

 

 

 

 

 

Case 1:17-cv-11778-FDS Document 36 Filed 01/30/18 Page 8 of 9

 

10/16/2017 § MOTION to Amend l Petition for Writ of Habeas Corpus (28:2254) by James Peter
Kyiicopoulos.(Maynard, Timothy) (Entered: 10/16/2017) `

 

10/17/2017 2 Letter/request (non-motion) from James Peter Kyricopoulos (DOCK_ET SHEET
SENT on this date) (Maynard, Tiniotliy) (Entered: 10/17/2017)

 

10/19/2017 10 Judge F. Dennis Saylor, IV: ELECTRONIC ORDER entered granting § Motion to
Amend. Petitioner is directed to tile a complete Amended Petition by 11/2/2017.
COPY MAlLED. (Pezza.rossi, Lisa) (Entered: 10/19/2017)

 

10/19/2017 _1_1_ MOTION for Immediate Release by James Peter Kyricopoulos (Maynard, Timothy)
(Entered: 10/19/2017) '

 

10/19/2017 _1_2 ADDENDUM re J,_ Petition for Writ of Habeas Corpus (28:2254) filed by James Peter .
Kyricopoulos by J ames Peter Kyricopoulos (Attachments: # l Exliibit) (Maynard,
Timothy) (Entered: 10/19/2017) '

 

10/27/2017 _l§ Letter/request (non-motion) requesting D. 7 from James P_eter Kyricopoulos
(Document sent on this date) (Maynard, Timothy) Modified on 10/27/2017 (Maynard,
Tirnothy). (Entered: 10/27/2017)

 

10/31/_2017 _1_4 NOTICE of Appearance by Eva M. Badway on behalf of Erin Gafliiey (Badway, Eva)
(Entered: 10/31!2017)

 

10/31/2017

15-

NOTICE by Eiin Gaf&iey Regarding Existence of Victz'm (Badway, Eva) (Entered:
10/31/2017) :

 

10/31/2017 MOTION to Dismiss by Erin Gaffney. (Attachments: # l Exhibit State Court Docket, ‘
# 2 Exhibit State Appeals Court Docket, # § Exliibit.State Appeals Court Docket, # fi_
Exhibit SJ Docket, # § Exhibit SJ petition, # § Exhibit USDC docket, # l Exliibit

USDC docket)(Badway, Eva) (Entered: 10/31/2017)

13

 

10/31/2017

13

MEMORANDUM in Support re ,1§ MOTION to Dismiss filed by Erin Gafiiiey.
(Badway, Eva) (Entered: 10/31/2017)

 

11/02/2017

107

AMENDED PETITION for Writ of Habeas Corpus pursuant to 28:2254, filed by
J ames Peter Kyricopoulos (Attachments: # 1_ Exhibit)(Maynard, Timothy) (Entered:
11/02/2017)

 

11/06/2017 Letter/request (non-motion) from J ames Peter Kyricopoulos (Maynard, Tirnothy)

(Entered: 11/06/2017)

 

MOTION to Compel by James Peter Kyricopoulos.(l\/laynard, Tiniothy) (Entered:
l 1/ 0 6/ 20 1 7)

11/06/2017

 

11/06/2017 MOTION for Evidentiary Hearing by l ames Peter Kyricopoulos (Maynard, Timothy)

(Entered: 11/06/2017)

 

15131816

11/06/2017 MOTION for Imniediate Release by James Peter Kyricopoulos (Maynard, Timothy)

(Entered: 11/06/2017)

 

11/06/2017 2_

w

Opposition re § MOTION to Dismiss filed by J ames Peter Kyricopoulos (Maynard,
Tiniothy) (Entered: 11/06/2017)

 

 

11/13/2017 § Amended PETITION for Writ of Habeas Corpus pursuant to 28:2254, filed by James
Peter Kyricopoulos (Attachments: # l Exhibits)(Maynard, Tirnothy) (Entered:
1 1/13/2017)

11/21/2017 li DECLARATION by J ames Peter Kyricopoulos (Maynard, Tirnothy) (Entered:
1 1/21/2017)

 

12/04/2017 _2_§ Letter/request (non-motion) from James Peter Kyricopoulos (Halley, Taylor)
(Entered: 12/05/2017) `

 

12/05/2017 27 DOCKET SHEET sent to J ames Peter Kyricopoulos (I-Ialley, Taylor) (Entered:
12/05/2017)

 

 

12/08/2017 22 Chronology of Post-Conviction Petitions Attacking State Convictions by J ames Peter

 

 

 

Kyricopoulos (Halley, 'I`aylor) (Entered: 12/20/2017)

 

Case 1:17-cv-11778-FDS Document 36 Filed 01/30/18 Page 9 of 9

 

Petitioner's ADDENDUM to re 2_1 MonoN for He§sng filed by James Peter

 

 

 

 

12/18/2017 2_&
Kyricopoulos (Halley, Taylor) (Entered: 12/20/2017)
01/02/2018 32 MOTION to recuse Judge F. Dennis Saylor from case by James Peter
Kyricopoulos (Halley, Taylor) (Entered: 01/08/2018)
01/10/2018 l1_ Letter/request nom J ames Peter Kyricopoulos to Chief Iustice Patty Saris. (Pezzarossi,
Lisa) (Entered: 01/10/2018) `
01/10/2018 32 DOCKET SH.`EET sent to James Peter Kyricopoulos (Pezzarossi, Lisa) (Entered:

 

 

01/10/2018)

 

 

